            Case 1:20-cv-05940-LJL Document 12 Filed 11/05/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                11/5/2020
---------------------------------------------------------------X
LESLIE BELL,                                                   :   20-CV-5940 (LJL) (RWL)
                                                               :
                                    Plaintiff,                 :
                                                               :
                  - against -                                  :   ORDER
                                                               :
TARGET CORPORATION,                                            :
                                                               :
                                    Defendant. :
                                                               :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This matter has been referred to me for settlement purposes. By November 12,

2020, the parties shall inform the Court whether they would like to have a settlement

conference at this juncture, and, if not, at what point in the litigation they believe a

settlement conference would be most helpful.

                                                     SO ORDERED.


                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: November 5, 2020
       New York, New York

Copies transmitted this date to all counsel of record.




                                                        1
